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                                         7   Attorneys for Defendant Kia America, Inc.

                                         8                                   UNITED STATES DISTRICT COURT

                                         9                                       DISTRICT OF NEVADA
3993 Howard Hughes Parkway, Suite 600




                                        10   Nathan Bain,                                       Case No. 2:22-cv-00851-RFB-VCF

                                        11                      Plaintiff,

                                        12            vs.                                        DEFENDANT KIA AMERICA, INC.'S
                                                                                                 UNOPPOSED MOTION TO EXTEND
Las Vegas, NV 89169




                                        13   Backgroundchecks.com LLC; Equifax                   DEADLINE TO RESPOND TO
                                             Information Services LLC; and Kia America,          COMPLAINT
                                        14   Inc. dba Kia Motor Finance,
                                                                                                 (FIRST REQUEST)
                                        15                      Defendant.

                                        16

                                        17            Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A), Defendant Kia America, Inc.
                                        18   (“Kia”), through its attorneys, respectfully requests that the Court extend the deadline in which Kia
                                        19   has to answer or otherwise plead to Plaintiff’s Complaint, by 21 days, through and until July 13,
                                        20   2022. In support of its Motion, Kia states as follows:
                                        21            1.    Plaintiff filed the Complaint initiating this action on May 27, 2022. [Dkt. 1].
                                        22            2.    Plaintiff served the Summons and Complaint on Kia effective June 1, 2022. [Dkt.
                                        23   6]. This established an initial deadline for Kia to respond to the Complaint by June 22, 2022. Id.
                                        24            3.    Kia's deadline to respond to the Complaint has not yet expired.
                                        25            4.    Kia now respectfully requests that the Court extend Kia's deadline to respond to the
                                        26   Complaint by 21 days, through and including July 13, 2022.
                                        27            5.    Counsel for Kia discussed the requested extension with counsel for Plaintiff, who
                                        28   does not oppose the requested extension.

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                                         1            6.    Kia desires additional time to respond to the Complaint in order to investigate the

                                         2   allegations and determine whether early resolution is possible.

                                         3            7.    This is Kia's first request for an extension; this request is brought in good faith and

                                         4   not made to unnecessarily delay discovery or the proceedings in this matter.

                                         5            8.    No party will be prejudiced by the requested extension nor, respectfully, will the

                                         6   extension unduly burden the Court.

                                         7            9.    Granting the requested extension is in the interest of justice and is otherwise right

                                         8   and proper.

                                         9            WHEREFORE Defendant Kia America, Inc. respectfully requests that the Court grant its
3993 Howard Hughes Parkway, Suite 600




                                        10   Unopposed Motion for Extension of Time to Respond to Complaint, extending its deadline to

                                        11   answer or otherwise plead to Plaintiff’s Complaint by and through July 13, 2022, and award such

                                        12   other relief the Court deems just and proper.
Las Vegas, NV 89169




                                        13

                                        14            DATED this 22nd day of June, 2022.

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                                                                           LEWIS ROCA ROTHGERBER CHRISTIE LLP
                                        16
                                                                           /s/ J Christopher Jorgensen
                                        17                                 J Christopher Jorgensen, Esq.
                                                                           Nevada Bar No. 5382
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                                        22
                                                                           Attorneys for Defendant Kia America, Inc.
                                        23

                                        24
                                                     IT IS SO ORDERED
                                        25

                                        26                                                     _____________________________________
                                                                                               UNITED STATES MAGISTRATE JUDGE
                                        27
                                                                                               DATED: June 24, 2022
                                        28

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                                         1                                     CERTIFICATE OF SERVICE

                                         2            I hereby certify that, on June 22, 2022, a true and exact copy of the foregoing has been

                                         3   served upon all parties via CM/ECF.

                                         4

                                         5
                                                                                                  /s/ Annette Jaramillo
                                         6                                                       An employee of Lewis Roca
                                                                                                 Rothgerber Christie LLP
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3993 Howard Hughes Parkway, Suite 600




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Las Vegas, NV 89169




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